             Case 8:23-ap-01046-SC                  Doc 112 Filed 07/27/23 Entered 07/27/23 16:49:46                                       Desc
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    Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &      FOR COURT USE ONLY
    Email Address




         Individual appearing without attorney
         Attorney for

                                             UNITED STATES BANKRUPTCY COURT
                                       CENTRAL DISTRICT OF CALIFORNIA - Name of DIVISION

    In re:
                                                                                CASE NO.: 8:23-bk-10571-SC
                                                                                CHAPTER: 11
                                                                                ADVERSARY NO.: 8:23-ap-01046-SC
                                                                 Debtor(s).




                                                                                NOTICE OF LODGMENT OF ORDER OR
                                                                Plaintiff(s),   JUDGMENT IN ADVERSARY PROCEEDING
                                      vs.                                       RE: (title of motion 1): STIPULATION TO
                                                                                EXTEND TIME TO RESPOND TO AMENDED
                                                                                COMPLAINT

                                                               Defendant.




PLEASE TAKE NOTE that the order or judgment titled [PROPOSED] ORDER ON STIPULATION TO EXTEND
TIME TO RESPOND TO AMENDED COMPLAINT
was lodged on (date)         07/27/2023           and is attached. This order relates to the motion which is docket number 111 .




1
    Please abbreviate if title cannot fit into text field.

              This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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 2
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     Phone: (714) 292-0262
 7   Fax: (714) 464-4770
 8 Specially Appearing Attorneys for
 9
   Defendants Tony Diab and Daniel S. March

10                   UNITED STATES BANKRUPTCY COURT
11                    CENTRAL DISTRICT OF CALIFORNIA
12                               SANTA ANA DIVISION
13
     In re:                                   Case No.: 8:23-bk-10571-SC
14
   THE LITIGATION PRACTICE                    Hon. Scott C. Clarkson
15 GROUP, PC,
                                              Chapter 11
16
                                              Adversary No. 8:23-ap-01046-SC
17                     Debtor.
                                              [PROPOSED] ORDER ON
18                                            STIPULATION TO EXTEND
     RICHARD A. MARSHACK,                     TIME TO RESPOND TO
19   Chapter 11 Trustee,                      AMENDED COMPLAINT [DKT
                                              #111]
20                     Plaintiff,
21            vs.                             Complaint Filed: May 25, 2023
22   TONY DIAB, an individual; DANIEL
     S. MARCH, an individual; ROSA
23   BIANCA LOLI, an individual; LISA
     COHEN, an individual; WILLIAM
24   TAYLOR CARSS, an individual; ENG
     TAING, an individual; MARIA EEYA
25   TAN, an individual; JAKE AKERS, an
     individual; HAN TRINH, an
26   individual; JAYDE TRINH, an
     individual; JAYDE TRINH, an
27   individual; WES THOMAS, an
     individual; SCOTT JAMES EADIE, an
28   individual; JIMMY CHHOR, an

      [PROPOSED] ORDER ON STIPULATION TO EXTEND TIME TO RESPOND
                        TO AMENDED COMPLAINT
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     individual, DONGLIANG JIANG, an
 1   individual; MAS CHOU, an individual;
     OAKSTONE LAW GROUP PC;
 2   GREYSON LAW CENTER PC;
     PHOENIX LAW, PC; MAVERICK
 3   MANAGEMENT GROUP, LLC; LGS
     HOLDCO, LLC; CONSUMER
 4   LEGAL GROUP, P.C.; VULCAN
     CONSULTING GROUP LLC; BAT
 5   INC. d/b/a COAST PROCESSING;
     PRIME LOGIX, LLC; TERACEL
 6   BLOCKCHAIN FUND II LLC; EPPS;
     EQUIPAY; AUTHORIZE.NET;
 7   WORLD GLOBAL; OPTIMUMBANK
     HOLDINGS, INC. d/b/a OPTIMUM
 8   BANK; MARICH BEIN, LLC;
     BANKUNITED, N.A.: REVOLVE3,
 9   INC.; FIDELITY NATIONAL
     INFORMATION SERVICES, INC.
10   d/b/a/ FIS; WORLDPAY, LLC;
     WORLDPAY GROUP; MERIT
11   FUND, LLC; GUARDIAN
     PROCESSING, LLC; PAYLIANCE,
12   LLC; TOUZI CAPITAL, LLC;
     SEAMLESS CHEX INC.; DWOLLA,
13   INC.; STRIPE, INC.; and DOES 1
     through 100, inclusive,
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                      Defendants.
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      [PROPOSED] ORDER ON STIPULATION TO EXTEND TIME TO RESPOND
                        TO AMENDED COMPLAINT
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 1         Pursuant to the STIPULATION TO EXTEND TIME TO RESPOND TO
 2   AMENDED COMPLAINT submitted by the Chapter 11 Trustee, Richard
 3   Marshack, on the one hand, and Defendants Tony Diab and Daniel March, on the
 4   other hand, filed on July 27, 2023 [DKT #111], and good cause appearing:
 5

 6      1. The Stipulation is approved in its entirety;
 7      2. Defendants Tony Diab and Daniel March shall have up to and including
 8         August 16, 2023 to file and serve any responsive pleading to the
 9         Amended Complaint.
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11   IT IS SO ORDERED.
12
     Dated:                          ____________________________________
13
                                     UNITED STATES BANKRUPTCY JUDGE
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           STIPULATION TO EXTEND TIME TO RESPOND TO AMENDED
                              COMPLAINT
       Case 8:23-ap-01046-SC                   Doc 112 Filed 07/27/23 Entered 07/27/23 16:49:46                                       Desc
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                                      PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:



A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT OF ORDER OR JUDGMENT IN
ADVERSARY PROCEEDING will be served or was served (a) on the judge in chambers in the form and manner required
by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
   07/27/2023
_______________,    I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                         Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) _______________, I served the following persons and/or entities at
the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.




                                                                                         Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
                                                                                                   07/27/2023
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________,     I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed. JUDGE'S COPY
      The Honorable Scott C. Clarkson
      U.S. Bankruptcy Court Ronald Raegan Federal Building
      411 W. Fourth Street, Suite 5130 / Courtroom 5C
      Santa Ana, CA 92701
                                                                                         Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

07/27/2023
 Date                        Printed Name                                                    Signature




         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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